Case 23-13359-VFP Doc 2070 Filed 08/28/23 Entered 08/28/23 16:00:37 Desc Main

Document

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
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-and-

Gabriel Rostom

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In Re:
BED BATH & BEYOND INC., et al.,
Debtors. !”

Page 1 of 4
FILED
JEANNE A, NAUGHTON, CLERK
AUG 28 2023
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D Of NEWARK, N JPOURT
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Chapter 11

Case No.: 23-13359 (VFP)

(Joint Administration Requested)

CERTIFICATION OF SERVICE

1. I, Neelay Das:

represent

in this matter,

am the secretary/paralegal for

, who represents

in this matter,

am a Common Stock Equity Security Holder in this case and am representing myself.

2. On August 28, 2023, I sent a copy of the following pleadings and/or documents to the parties

listed in the chart below.

2 The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the Debtors in these
Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website of the Debtors’ proposed claims
and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath & Beyond Ine,’s principal place of
business and the Debtors’ service address in these Chapter 11 Cases is 650 Liberty Avenue, Union, New Jersey 07083.
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a. NOTICE OF BED BATH ON SEY on COE ON 1 (OCK EQUITY INTEREST
HOLDERS’ MOTION, PURSUANT TO II U.S.C. § 105(a), FED. R. CIV. P. 60(6),
AND FED. R. BANKR. P. 9024, FOR AN ORDER VACATING THE ORDER (1) (A)
CONDITIONALLY APPROVING THE ADEQUACY OF THE DISCLOSURE
STATEMENT, (B) APPROVING THE SOLICITATION AND NOTICE PROCEDURES
WITH RESPECT TO CONFIRMATION OF THE PLAN, (C) APPROVING THE
FORMS OF BALLOTS AND NOTICES IN CONNECTION THEREWITH

b. CERTIFICATION OF NEELAY DAS INSUPPORT OF BED BATH AND BEYOND
COMMON STOCK EQUITY INTEREST HOLDERS’ MOTION, PURSUANT TO 11
U.S.C. § 105(a), FED. R. CIV. P. 60(b), AND FED. R. BANKR. P. 9024, FOR AN
ORDER VACATING THE ORDER (1) (A) CONDITIONALLY APPROVING THE
ADEQUACY OF THE DISCLOSURE STATEMENT, (B) APPROVING THE
SOLICITATION AND NOTICE PROCEDURES WITH RESPECT TO
CONFIRMATION OF THE PLAN, (C) APPROVING THE FORMS OF BALLOTS
AND NOTICES IN CONNECTION THEREWITH

c. APPLICATION FOR ORDER SHORTENING TIME

35 I hereby certify under penalty of perjury that the above documents were sent using the

mode of service indicated.

Date: August 28, 2023 /s/ Neelay Das
Neelay Das
Name and Address of Party Served Relationship of Mode of Service
Party to the Case
Honorable Vincent I". Papalia United States Bankruptcy Hand-delivered
United States Bankruptcy Court Judge for the District of
istti me New Jerse (J Regular mail
District Of New Jersey y ss .
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chambers of vip@nib.uscourts.gov Email

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Case 23-13359-VFP Doc 2070 Filed 08/28/23 Entered 08/28/23 16:00:37 Desc Main

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